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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,
                  v.                                       Criminal No. 09-259-003 (JDB/JMF)

ALICIA S. DAVIS,

          Defendant.


                                             ORDER

          Upon consideration of [119] the Report and Recommendation dated April 2, 2013, the

absence of any objections thereto, and the entire record herein, it is hereby

          ORDERED that the Report and Recommendation dated April 2, 2013, is adopted; it is

further

          ORDERED that defendant’s probation is terminated successfully.

SO ORDERED.


                                                                    /s/
                                                             JOHN D. BATES
                                                        United States District Judge

Dated: April 3, 2013
